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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION


CAMDEN COUNTY, GEORGIA,                        )
                                               )
       Plaintiff,                              )
                                               ) CIVIL ACTION NO.
v.                                             )
                                               ) ___________________
LEXON INSURANCE COMPANY,                       )
                                               )
       Defendant.                              )

                                  NOTICE OF REMOVAL

TO: THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR
      THE SOUTHERN DISTRICT OF GEORGIA
      BRUNSWICK DIVISION

       Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendant Lexon Insurance Company

hereby files this Notice of Removal, showing this Honorable Court as follows:

                                               1.

       An action has been commenced against Defendant in the Superior Court of Camden

County, State of Georgia, styled Camden County, Georgia v. Lexon Insurance Company, Civil

Action File No. 14V11 SSN.   True and correct copies of all process, pleadings, and orders served

on the Defendant, specifically including copies of the Complaint and Summons, are attached

hereto as Exhibit A. There were no motions pending in this matter in the Superior Court of

Camden County at the time of removal.

                                               2.

       The Summons and Complaint were served upon Lexon Insurance Company on January

14, 2014. This Notice therefore is timely under 28 U.S.C. § 1446(b).



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                                                3.

       This Court has diversity jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a).

                                                4.

       Based on the allegation in the Complaint, Plaintiff is a body corporate and politic

authorized by and organized pursuant to Article IX, Section I, et seq ., of the State of Georgia

Constitution, and is therefore a citizen of Georgia for purposes of jurisdiction. See Complaint at

¶ 1. Lexon is a foreign corporation organized and existing under the laws of Texas, with its

principal place of business located in Louisville, Kentucky. Lexon was not a citizen of the State

of Georgia at the time of, or immediately prior to, the filing and service of this lawsuit or

anytime thereafter.

                                                5.

       Based on the allegations in the Complaint, the amount in controversy exceeds

$75,000.00, exclusive of interest and costs because Plaintiff claims it is entitled to recover

damages “in excess of $16,412,467.50” from Lexon. See Complaint at ¶¶ 38-39.

                                                6.

       A Notice of Filing Notice of Removal, together with a copy of this Notice of Removal,

will be filed on this same date with the Clerk of the Superior Court of Camden County, Georgia,

and served on counsel for Plaintiff. A true and correct copy of the Notice of Filing Notice of

Removal is attached hereto as Exhibit B .

       WHEREFORE, Defendant hereby petitions to remove this case from the Superior Court

of Camden County, Georgia, to the United States District Court for the Southern District of

Georgia, Brunswick Division.




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Respectfully submitted this 10th day of February, 2014.



                                                s/ Geremy W. Gregory
                                                Geremy W. Gregory
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                                                Attorneys for Lexon Insurance Company
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this the 10th day of February, 2014, I electronically filed the

foregoing Notice of Removal with the Clerk of the Court using the CM/ECF system and service

will be perfected upon the following. Additionally, a copy of the foregoing has been placed in

the U.S. Mail postage prepaid to the following:

                              G. Todd Carter
                              Garret W. Meader
                              Brown, Readdick, Bumgartner,
                              Carter, Strickland, & Watkins, LLP
                              P.O. Box 220
                              Brunswick, GA 31521-0220


                                                      s/ Geremy W. Gregory__
                                                      Geremy W. Gregory
                                                      Georgia Bar No. 885342




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